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UNITED STATES DISTRICT COURT                                                                06/12/2023
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
JASON GOODMAN,                                                          :
                                                                        :
                                    Plaintiff,                          :   ORDER
                                                                        :
                  -v-                                                   :   21-CV-10878 (AT) (JLC)
                                                                        :
CHRISTOPHER ELLIS BOUZY, et al.,                                        :
                                                                        :
                                    Defendants.                         :
------------------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.
        In its Order and Report and Recommendation dated May 8, 2023 (“May 8 R &

R”), the Court recommended that defendants Benjamin Wittes’ and Nina

Jankowicz’s motion for sanctions against plaintiff Jason Goodman in the form of a

filing injunction be granted, but that their request for attorneys’ fees be denied. See

May 8 R & R (Dkt. No. 203), at 37-38. Defendants Wittes and Jankowicz have now

moved for reconsideration of the denial of attorneys’ fees under Rule 60(b) of the

Federal Rules of Civil Procedure and S.D.N.Y. Local Rule 6.3. See Notice of Motion

dated May 16, 2023 (Dkt. No. 208). They contend that new evidence – in the form of

a public YouTube broadcast in which Goodman “(i) made clear that he does not view

the sanctions imposed as sufficient to deter him from future litigation misconduct

and (ii) gloated about having caused financial damage to certain defendants by

forcing them to incur significant legal fees in defending against his frivolous claims”

– supports the motion. Memorandum of Law in Support of Motion for

Reconsideration (“Def. Mem.”), at 1-2 (Dkt. No. 209). On May 30, 2023, Goodman
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filed a response in opposition to the motion (Dkt. No. 216), and defendants replied

on June 5, 2023 (Dkt. No. 218).

      While it may well be that “financial disincentives . . . [will be] necessary to

deter [Goodman] from bringing groundless lawsuits in the future,” Def. Mem. at 3,

as defendants argue, the Court will not reconsider that portion of its May 8 Report

and Recommendation denying the request for attorneys’ fees. The Court is of the

view that the filing injunction that it has recommended is a sufficient remedy at

this time, notwithstanding the new evidence that defendants have offered. See May

8 R & R at 37-38 (citing cases). Defendants are free, of course, to seek this relief

from Judge Torres in filing an objection to this Report and Recommendation.

      Accordingly, the motion for reconsideration is denied. The Clerk is

respectfully directed to close docket number 208 and mark it as “denied.”

       SO ORDERED.

Dated: June 12, 2023
       New York, New York
